Case 3:16-md-02738-MAS-RLS     Document 28922     Filed 01/24/24   Page 1 of 3 PageID:
                                    171128



                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

                                      )
  IN RE: JOHNSON & JOHNSON            )
  TALCUM POWDER PRODUCTS              )
  MARKETING, SALES PRACTICES AND )                 MDL No. 2738 (MAS) (RLS)
  PRODUCTS LIABILITY LITIGATION       )
  ___________________________________ )
                                      )
  This Document Relates To All Cases  )
                                      )

    NOTICE OF DEFENDANTS’ MOTION OBJECTING TO SPECIAL
  MASTER’S OPINION RELATED TO PLAINTIFFS’ RENEWED MOTION
   FOR LEAVE TO FILE SECOND AMENDED MASTER LONG FORM
                        COMPLAINT

        PLEASE TAKE NOTICE that on February 20, 2024, or as soon thereafter

  as counsel may be heard, the undersigned defendants’ counsel shall move pursuant

  to the Court’s September 11, 2017 Order Regarding Special Master’s Duties and

  Authority (Dkt. No. 704) and March 23, 2021 Order Appointing Special Master

  (Dkt. No. 18360) for an entry of Order vacating: (1) the Special Master’s January

  10, 2024 Opinion and Special Master Order No. 17 (Deciding Plaintiffs’ Motion to

  Amend) (Dkt. No. 28902), and (2) denying the Plaintiffs’ Renewed Motion for

  Leave to File a Second Amended Master Long Form Complaint (Dkt. No. 26636),

  for the reasons explained in the Memorandum in Support filed herewith.

        PLEASE TAKE FURTHER NOTICE that in support of their motion, the

  undersigned defendants shall rely upon the Memorandum of Law in Support
Case 3:16-md-02738-MAS-RLS      Document 28922        Filed 01/24/24   Page 2 of 3 PageID:
                                     171129



  submitted herewith, and any reply submissions made hereafter and the Certification

  of Susan Sharko, Esq. together with exhibits; and

        PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted

  herewith; and

        PLEASE TAKE FURTHER NOTICE that oral argument is requested.


  Dated: January 24, 2024        By: /s/ Susan M. Sharko
                                        Susan M. Sharko
                                        FAEGRE DRINKER BIDDLE &
                                        REATH LLP
                                        600 Campus Drive
                                        Florham Park, NJ 07932
                                        Tel.: (973) 549-7000
                                        susan.sharko@faegredrinker.com

                                        Allison M. Brown
                                        Jessica Davidson
                                        SKADDEN, ARPS, SLATE, MEAGHER
                                        & FLOM LLP
                                        One Manhattan West
                                        New York, NY 10001
                                        Tel.: (212) 735-3000
                                        allison.brown@skadden.com
                                        jessica.davidson@skadden.com

                                        Attorneys for Defendant




                                          2
Case 3:16-md-02738-MAS-RLS   Document 28922   Filed 01/24/24   Page 3 of 3 PageID:
                                  171130




                                     3
